
PER CURIAM.
This cause came on to be heard on the motion of the appellee to affirm the judg*736ment appealed from pursuant to 30 F.S.A. Rule 38 of the Rules of this court and it appearing to the court from an examination of the record that the only substantial questions presented on this appeal were answered adversely to appellant’s contention in the case of Hill v. Morris, Fla., 85 So.2d 847, and it, therefore, appearing to the court that said motion is appropriate and seasonably made and that it is manifest that the questions raised on appeal are without substantial merit and need no further argument;
It is accordingly Ordered, Adjudged and Decreed that the motion to affirm the judgment appealed from be and the same is hereby granted and the judgment is
Affirmed.
DREW, €. J., and HOBSON and THORNAL, JJ., and PRUNTY, Associate Justice, concur.
